   Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 1 of 12



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

DE IVORY SMITH, ET AL.                                           CIVIL ACTION

VERSUS                                                           NO. 14-2623

MANHATTAN MANAGEMENT COMPANY,                                    SECTION "B"(2)
LLC, ET AL.


                                ORDER AND REASONS

       Before   the   Court     are    a    “Joint   Motion     for   Approval    of

Settlement”     (Rec.    Doc.    96)       and   “Plaintiffs’    Motion   to     Set

Attorneys’ Fees and Costs” (Rec. Doc. 95). Defendants filed a

“Memorandum in Opposition to Plaintiff’s Motion to Set Attorneys’

Fees and Costs” (Rec. Doc. 98) and Plaintiffs filed a “Reply Brief”

(Rec. Doc. 99-2). For the reasons outlined below,

       IT IS ORDERED that the Joint Motion for Approval of Settlement

is GRANTED.

       IT IS FURTHER ORDERED that the Plaintiff’s Motion to Set

Attorney’s Fees and Costs is GRANTED IN PART and DENIED IN PART.

  I.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       This dispute arises out of a payment scheme used by the owners

of the Forest Isles Apartment Complex located in the Algiers

community of New Orleans, Louisiana. Rec. Doc. 27. Plaintiffs,

residents/employees of the apartment complex, filed suit under the

Fair Labor Standards Act (“FLSA”), claiming they were not properly

paid overtime or minimum wage as mandated by the Act. Rec. Doc. 1


                                            1
     Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 2 of 12



at 1. After significant discovery and motion practice, the parties

reached a settlement agreement. Rec. Doc. 96. However, they were

unable to agree on the appropriate amount of attorney’s fees, thus

submitting their positions to the Court for resolution.

       Both parties agree that the lodestar method is the correct

means for determining the appropriate amount of attorney’s fees.

Rec. Doc. 95-1 at 8, 98 at 7. Yet, Defendants contend that

reductions to the amount of fees are required due to the degree of

success obtained, counsel’s block-billing practices, and counsel’s

failure to exercise billing judgment among other reasons. Rec Doc.

98    at   7-8.   Plaintiffs   counter    that   the   lodestar   amount    is

appropriate in light of the results obtained because Plaintiffs

prevailed on all claims asserted and the settlement amount was not

insignificant. Rec. Doc. 99-2 at 3-8. Finally, Plaintiffs aver

that their billing techniques were proper and reasonable. Rec.

Doc. 99-2 at 8-10.

     II.   LAW AND ANALYSIS

       The Court will first address the suitability of the settlement

agreement.

       a. The Joint Motion for Approval of Settlement

       Employees with back wage claims under the FLSA have only two

means to settle or compromise those claims: (1) supervision by the

Secretary of Labor; or (2) approval by a district court in the

form of a stipulated judgment. Lynn’s Food Stores, Inc. v. United

                                      2
      Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 3 of 12



States, 679 F.2d 1350, 1352-53 (11th Cir. 1982); Bodle v. TXL

Mortg. Corp., 788 F.3d 159, 164 (5th Cir. 2015). “When employees

bring a private action for back wages under [section 216(b) of the

FLSA], and present to the district court a proposed settlement,

the     district   court    may   enter    a   stipulated   judgment    after

scrutinizing the settlement for fairness.” Lynn’s Food Stores, 679

F. 2d at 1353. The purpose of this requirement is to ensure a

reasonable compromise by preventing plaintiffs from submitting to

one-sided settlements that functionally waive their FLSA rights.

See id. at 1354. Factors used in reviewing class action settlements

also prove useful in determining whether a FLSA settlement is fair

and reasonable. Silva v. Miller, 547 F. Supp. 2d 1299, 1303 (S.D.

Fla. 2008). Such factors include: the existence of fraud or

collusion behind the settlement; the probability of Plaintiffs’

success on the merits; the complexity, expense, and likely duration

of the litigation; the stage of the proceedings and amount of

discovery completed; and the range of possible recovery.” Id. at

1303-04.

       Here, the settlement agreement is a reasonable compromise in

light of all relevant factors. The parties’ agreement resolves a

bona fide dispute and forecloses the possibility of further costly

litigation. Moreover, the terms of the settlement compensate the

plaintiffs for each shift and/or hour worked depending on their

position. It also compensates the named plaintiffs for their time

                                       3
    Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 4 of 12



involved in this litigation and provides for liquidated damages.

The Court has received no indications of fraud or collusion driving

this agreement. Further, significant discovery and motion practice

preceded this agreement, indicating that the parties are able to

make reasoned judgments on the likelihood of success on the merits.

Although the dispatcher-plaintiffs, unlike the property monitors,

did not receive compensation for each hour worked as initially

requested, such a compromise seems reasonable considering the fact

that   the   number      of   hours   actually    worked    varied     by   shift.

Accordingly,     the     Court   finds     that   the    Plaintiffs’     combined

recovery of $22,326.78 is a fair and reasonable settlement of the

bona fide dispute.

       b. Motion to Set Attorney’s Fees and Costs

       Under the FLSA, the court “shall, in addition to any judgment

awarded   to   the      plaintiff     or   plaintiffs,    allow   a    reasonable

attorney’s fee to be paid by the defendant, and costs of the

action.” 29 U.S.C. §216(b). Plaintiffs seek $1,457.99 in costs and

$51,500 in attorney’s fees.

             1. Costs

       Plaintiffs request costs totaling $1,457.991 as the prevailing

party. See Abner f. Kansas City S. Ry. Co., 541 F.3d 372, 379 (5th

Cir. 2008) (“A prevailing party is a party who is ‘successful on


1 Plaintiffs claim to seek $1,458.99 in costs. Rec. Doc. 95-1 at 7. However, by
the Court’s calculations based on the itemized breakdown of costs expended,
Plaintiffs actually seek $1,457.99.

                                           4
      Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 5 of 12



any significant issue in litigation which achieves some of the

benefit the party sought in bringing suit.’”) (quoting Hensley v.

Eckerhart, 461 U.S. 424, 437 (1983)). Those costs consist of

traditional costs outlined in 28 U.S.C. § 1920 as well as some

out-of-pocket costs, including: $400 in filing fees, $105 in

service costs, $22.40 in PACER costs, $89.49 in postage fees

associated with sending out notice, $5.85 in costs incurred in

skip tracing returned notice letters, $700 for the transcript of

Nicole Borowski’s deposition, and $135.25 in photocopying costs.

Rec. Doc. 95-1 at 7.

       While the United States Court of Appeals for the Fifth Circuit

has not explicitly authorized out-of-pocket costs in the FLSA

context, other circuits have approved of awarding reasonable out-

of-pocket costs. See, e.g., Smith v. Diffee Ford-Lincoln-Mercury,

Inc., 298 F.3d 955, 969 (10th Cir. 2002) (“Under the FLSA, costs

include reasonable out-of-pocket expenses”). Additionally, the

Fifth Circuit has permitted such costs under other fee-shifting

statues. See, e.g., Mota v. Univ. of Tex. Houston Heal Sci. Ctr.,

261    F.3d   512,   530   (5th   Cir.   2001)   (permitting   an   award    of

“reasonable out-of-pocket expenses” under Title VII). Although

Defendants generally challenge the award of fees and costs as

excessive, their brief focuses only on the unreasonableness of the

attorney’s fees sought and does not address the reasonableness of



                                         5
   Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 6 of 12



costs. See Rec. Doc. 98. Accordingly, the Court finds an award of

$1,457.99 in costs fair and reasonable.

           2. Attorney’s Fees

     Plaintiffs urge the Court to award $51,500 in attorney’s fees

based   upon   257.5   hours   billed       at   a   rate   of   $200   per   hour.

Defendants contend that the Court should reduce that amount for

failure to exercise proper billing judgment and then adjust that

award   further   downwards       by   seventy-eight        percent     based   on

Plaintiff’s minimal degree of success. While Defendants request is

over-zealous,     a    downward    adjustment         is    warranted     due   to

Plaintiffs’ counsel’s billing practices.

     The Fifth Circuit uses the lodestar method for determining a

reasonable amount of attorney’s fees. Saizan v. Delta Concrete

Products Co., Inc., 448 F.3d 795, 799 (5th Cir. 2006). Under that

method, the reasonable number of hours spent on the case is

multiplied by an appropriate hourly rate in the community for such

work. Id. Plaintiffs use a rate of $200 per hour. The Court finds

that $200 per hour for FLSA work in the New Orleans community is

indeed a reasonable rate. See, e.g., Johnson v. Big Lots Stores,

Inc., 639 F. Supp. 2d 696, 702 (E.D. La. June 25, 2009) (finding

a rate of $225 per hour for associate work customary). That

Defendants have not opposed the rates sought by Plaintiffs is

further evidence of their reasonableness.



                                        6
   Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 7 of 12



     The primary issue is the hours reasonably expended on the

litigation.     The    party     seeking     fees     “bears    the     burden    of

establishing     entitlement      to    an    award     and     documenting      the

appropriate hours expended and hourly rates.” Louisiana. Power &

Light Co. v. Kellstrom, 50 F.3d 319, 324 (5th Cir. 1995) (quoting

Hensley, 461 U.S. at 437). The court should eliminate those hours

that are excessive, duplicative, or too vague to permit meaningful

review. Big Lots, 639 F. Supp. 2d at 702 (citing Watkins v.

Fordice, 7 F.3d 453, 457 (5th Cir. 1993); Louisiana Power & Light

Co., 50 F.3d at 326). Also, “[w]hen using the lodestar method to

award   attorney      fees,    courts   routinely      deduct    time    spent   on

unsuccessful,      unfounded      or    unnecessary      pleadings,       motions,

discovery requests and memoranda.” White v. Imperial Adjustment

Corp., No. 99-3804, 2005 WL 1578810, at *11 (E.D. La. June 28,

2005). Additionally, attorneys should not bill at that same rate

for the performance of clerical duties. Even if attorneys are

required to complete certain clerical tasks due to a lack of

available help, such non-legal work does not justify billing at an

attorney’s rate simply because it is completed by an attorney. See

Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717 (5th

Cir. 1974), abrogated on other grounds. Finally, courts in this

circuit have also taken to instituting percentage-based reductions

in the attorney’s hours for engaging in block-billing or for

failure to exercise billing judgment. See Fralick v. Plumbers and

                                        7
    Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 8 of 12



Pipefitters Nat. Pension Fund, No. 09-0752, 2011 WL 487754, at *3-

4 (N.D. Tex. Feb. 11, 2011) (reducing attorney’s fees under the

lodestar method in the context of ERISA). To show billing judgment,

a party must adequately document “the hours charged and [those]

written off as unproductive, excessive, or redundant.” Saizan, 448

F.3d at 799.

      Here, the Court must reduce the number of hours claimed by

Plaintiffs’    counsel.     First,     the   Court    finds   it   necessary   to

eliminate    14.4   hours    as   overly     vague    or   duplicative.2   While

Plaintiffs’    counsel      maintain    that    the    allegedly    duplicative

entries are simply a result of the two attorneys working in a

complimentary manner, that allegation is not adequately reflected

in their billing statement as it appears in certain instances that

they are double-charging for the exact same work. The Court also

finds it necessary to eliminate the hours spent on Plaintiffs’

motions to compel and motion for summary judgment because the

motions were unfounded and unnecessary.3 Accordingly, the Court


2 The Court finds the following entries duplicative: 11/17/14, JFJ for 0.1;
12/23/14, JFJ for 0.4; 4/14/15, JFJ for 0.6; 4/28/15, JFJ for 0.8; 5/1/15, MBJ
for 0.8; 5/18/15, JFJ for 0.2; 6/2/15, MBJ for 0.6; 10/16/15, JFJ for 0.8; and
1/7/16, MBJ for 3.1. The Court finds the following entries too vague for
meaningful review: 7/7/15, MBJ for 0.8; 7/14/15, MBJ for 0.8; 7/15/15, MBJ for
0.3; 8/24/15, MBJ for 0.6; 10/27/15, MBJ for 1.2; 11/25/15, MBJ for 0.8; and
11/30/15, MBJ for 2.5. Rec. Doc. 95-3 at 1-8.
3 Plaintiffs’ first motion to compel was dismissed without prejudice because it

was unclear to the Magistrate Judge whether Plaintiffs had complied with their
obligations under Federal Rule of Civil Procedure 37(a)(1). Rec. Doc. 53.
Similarly, Plaintiffs eventually withdrew their second motion to compel after
receiving the needed documents from Defendants without the need for judicial
intervention. Rec. Docs. 73, 75. Finally, Plaintiff’s motion for partial summary
judgment was denied in its entirety. Rec. Doc. 83. Plaintiff’s motion was
founded upon the argument that certain prerequisites to Defendants affirmative

                                        8
    Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 9 of 12



will deduct an additional 26.3 hours from those claimed.4 Those

reductions bring the total amount of hours down from 257.5 to

216.8.

       Defendants also urge the Court to reduce the amount of

attorney’s fees requested because of a lack of billing judgment

and Plaintiffs’ counsel’s habit of block-billing. It is not clear

from     Plaintiffs’    motion   that       they   wrote   off   any    time   as

unproductive    or     redundant.   Plaintiffs’      counsel     also   make   no

effort, outside of conclusory statements that their hours are

reasonable, to convince the Court that they exercised billing

judgment. However, Plaintiffs’ counsel did not engage in block-

billing. While some entries cover multiple tasks, counsel did not

enter “the total daily time spent working on a case, rather than

itemizing the time expended on specific tasks.” Fralick, 2011 WL

487754 at *4. In fact, they had numerous entries per day covering

numerous tasks. Accordingly, the Court sees only the need to apply

a reduction of 10% for counsel’s failure to demonstrate billing

judgment. This reduction is in line with reductions that other

courts have implemented for failure to exercise billing judgment.



defenses barred their reliance on those exceptions to the FLSA. However, as the
Court noted in its Order and Reasons, that argument had no legal basis. Rec.
Doc. 83 at 9.
4 Those entries relating to the motions to compel are: 8/4/15, MBJ for 3.1;

8/4/15, JFJ for 0.4; 8/17/15, MBJ for 2.0; 10/9/15, MBJ for 0.6; 10/12/15,
MBJ for 1.6; 11/3/15, MBJ for 1.2; and 11/3/15, JFJ for 0.5. The following
entries relate to the motion for partial summary judgment: 10/29/15, MBJ for
2.0; 11/3/15, MBJ for 7.7; 11/3/15, JFJ for 1.9; 11/25/15, MBJ for 1.8;
11/30/15, MBJ for 3.2; and 12/1/15, MBJ for 0.3. Rec. Doc. 95-3 at 1-8.

                                        9
    Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 10 of 12



See id. (applying a 10% reduction of the overall fee request while

also making other task-specific reductions for excessive hours);

Saizan, 448 F.3d at 800 (affirming the District Court’s decision

to apply a 10% reduction for failure to provide evidence of billing

judgment). That reduction brings the total amount of reasonable

hours down to 195.12.

      Finally, the Court also finds it necessary to reduce the

amount of attorney’s fees due to Plaintiffs’ counsel’s repeated

billing for clerical duties. While they may bill for such work, it

should not be billed at an attorney’s rate. The Court finds that

the attorneys billed for 20.4 hours of clerical work,5 which should

be billed at a reasonable clerical billing rate of $75 per hour

rather than the $200-per-hour attorney rate. See Big Lots, 639 F.

Supp. 2d at 702 (approving a rate of $75 per hour for clerical

work done by paralegals). Consequently, Plaintiffs are due $1,530

for those clerical duties. The remaining number of reasonable

attorneys’ hours after subtraction of the clerical hours is 174.72.




5 Those entries deemed to include clerical work are: 10/4/14, JFJ for 0.6;
2/20/15, MBJ for 0.5; 2/23/15, MBJ for 0.1; 4/18/15, JFJ for 0.6; 4/22/15,
JFJ for 0.3; 5/4/15, MBJ for 1.3; 6/1/15, JFJ for 1.0; 6/7/15, JFJ for 0.2;
6/8/15, JFJ for 0.2; 6/9/15, JFJ for 0.4; 6/10/15, MBJ for 0.8; 6/16/15, MBJ
for 0.2; 7/8/15, MBJ for 0.5; 7/21/15, JFJ for 2.3; 8/11/15, JFJ for 0.4;
8/18/15, MBJ for 0.6; 8/18/15, JFJ for 2.3; 8/20/15, JFJ for 0.2 (send client
order); 8/28/15, JFJ for 0.1; 9/2/15, JFJ for 0.9; 9/23/15, JFJ for 0.6;
9/24/15, JFJ for 0.2; 10/1/15, JFJ for 0.2; 10/4/15, JFJ for 0.8; 10/4/15,
JFJ for 0.1; 10/15/15, JFJ for 0.1; 10/15/15, JFJ for 2.2; 11/5/15, MBJ for
0.3; 11/11/15, JFJ for 0.2; 11/16/16, JFJ for 0.2 (research Vescom);
11/19/15, JFJ for 0.5; 11/19/19, JFJ for 0.5; 11/20/15, JFJ for 0.4;
11/25/15, JFJ for 0.1 (arrange court reporter); 11/25/15, JFJ for 0.2; and
1/12/16, MBJ for 0.3. Rec. Doc. 95-3 at 1-8.

                                     10
    Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 11 of 12



Multiplying the reasonable attorneys’ hours by the reasonable

attorney rate of $200 per hour leaves $34,944 in attorney’s fees.

Accordingly, the total lodestar amount in this case is $36,474

(attorneys’ fees plus clerical fees).

      Contrary to Defendants’ assertions, the Court sees no need to

further reduce that lodestar amount based on the degree of success

obtained or the factors outlined in Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974).6 See Rec. Doc.

98 at 8. While Plaintiffs certainly did not receive everything

they initially requested, the settlement compensates each property

monitor at the rate requested in the original complaint. See Rec.

Docs. 1 at 15; 96 at 4. Additionally, all Plaintiffs received

liquidated damages. See Rec. Doc. 96 at 4. Plaintiffs achieved a

significant-enough degree of success in relation to the lodestar

amount so as to avoid further reductions. See Saizan, 448 F.3d at

802 (acknowledging that it is not unusual for the amount of

attorney’s fees awarded to be greater than the amount of damages

recovered and that there is no “per se proportionality rule”).

Finally, neither party presents evidence showing that any of the



6 Those factors include: (1) the time and labor required; (2) the novelty and
difficulty of the questions; (3) the skill requisite to perform the legal
service properly; (4) the preclusion of other employment by the attorney due
to the acceptance of the case; (5) the customary fee; (6) whether the fee is
fixed or contingent; (7) time limitations imposed by the client or the
circumstances; (8) the amount involved and the results obtained; (9) the
experience, reputation, and ability of the attorneys; (10) the
“undesirability” of the case; (11) the nature and length of the professional
relationship with the client; and (12) awards in similar cases.

                                     11
  Case 2:14-cv-02623-ILRL-JCW Document 102 Filed 03/10/16 Page 12 of 12



Johnson factors militate in favor of further increase or decrease

of the lodestar amount.

  III. CONCLUSION

For the reasons discussed above,

    IT IS ORDERED that the Motion for Approval of Settlement is

GRANTED.

    IT IS FURTHER ORDERED that the Motion to Set Attorney’s Fees

and Costs is GRANTED IN PART and DENIED IN PART. Plaintiffs shall

be awarded fees and costs, though a lower amount than requested.

Based on the calculations outlined above, Plaintiffs are due

$37,931.99 in costs and fees.

    New Orleans, Louisiana, this 10th day of March, 2016.




                                         ____________________________
                                         UNITED STATES DISTRICT JUDGE




                                   12
